          Case 2:08-cr-00294-WBS Document 128 Filed 08/10/11 Page 1 of 2


1    BENJAMIN B. WAGNER
     United States Attorney
2    RUSSELL L. CARLBERG
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2748
5
6
7
8                IN THE UNITED STATES DISTRICT COURT FOR THE
9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       ) CR. No. S-08-294-EJG
                                     )
12                  Plaintiff,       ) STIPULATION AND ORDER TO CONTINUE
                                     ) SENTENCING DATE
13        v.                         )
                                     )
14   MELISSA VILLEGAS,               )
                                     )
15                  Defendant.       )
                                     )
16   _______________________________ )
17
                                    STIPULATION
18
          IT IS HEREBY STIPULATED AND AGREED between the defendant,
19
     Melissa Villegas, by and through her attorney, Bruce Locke, and the
20
     United States of America, by and though its attorney, Assistant
21
     United States Attorney Russell L. Carlberg, that the date set for
22
     judgement and sentence for defendant Melissa Villegas should be
23
     continued from August 12, 2011 to September 2, 2011.         The reason
24
     for the continuance is that government counsel cannot personally be
25
     present in court on August 12, 2011.      Counsel is unavailable due to
26
     an appointment for his child on that day.       Due to the nature of the
27
     case and the forthcoming 5K1.1. recommendation, the undersigned
28

                                          1
             Case 2:08-cr-00294-WBS Document 128 Filed 08/10/11 Page 2 of 2


1    Assistant U.S. Attorney believes he should be personally present
2    for the sentencing of this defendant and not ask a colleague to
3    stand in for him.
4         The parties are aware that the matter has been continued
5    previously three times due to other reasons.          This fourth
6    continuance is the last one that will be requested and the parties
7    will be prepared for judgment and sentence on September 2, 2011.
8    Should the Court grant this final request, the parties would file
9    sentencing memoranda not later than August 26, 2011.
10        Counsel for the government has confirmed with the Court’s
11   courtroom deputy, Ms. Lydon, that September 2, 2011 is an available
12   date.    The U.S. Probation Officer has informed the undersigned
13   Assistant U.S. Attorney that she has no objection to a continuance
14   and that she is available on any Friday in September.            Counsel for
15   the defendant has telephonically authorized the undersigned
16   Assistant U.S. Attorney to sign for him.
17
     DATE: August 5, 2011                BENJAMIN B. WAGNER
18                                       United States Attorney
19
                                   By:    Russell L. Carlberg
20                                       RUSSELL L. CARLBERG
                                         Assistant United States Attorney
21
22   DATE: August 5, 2011                 Bruce Locke
                                         BRUCE LOCKE
23                                       Attorney for MELISSA VILLEGAS
24
                                          ORDER
25
     IT IS SO ORDERED.
26
27   DATED: August 9, 2011                /s/ Edward J. Garcia
                                         HON. EDWARD J. GARCIA
28                                       United States District Judge

                                             2
